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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     U NITED STATES D ISTRICT C OURT
                                                                    for the

                                                  Northern District of Florida
                    United States of America                           )
                               v.                                      )
                                                                       ) Case No: 3:99cr29/LAC
                       GARY VENNING
                                                                       ) USM         53584-004
Date of Previous Judgm ent:          3 January 2000                    )
(Use Date of Last Amended Judgment if Applicable)                      ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of 9 the defendant 9 the Director of the Bureau of Prisons : the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
       : DENIED . 9 GR AN TED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Prev ious Offense L evel:     35               Am ended O ffense Level:                                          35
Criminal History Category:    VI               Criminal History Category:                                        VI
Previous Guideline Range:  292   to 365 months Amend ed Guideline Range:                                       292      to 365   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
9 The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
: Other (explain): The present sentence of 170 months is a significant departure from the applicable guidelines and the
                     mandatory minimum of life. The mandatory minimum of life still applies and, despite the reduction
                     in the guidelines, the sentence of 170 months is still appropriate.



III. ADDITIONAL COMM ENTS




Except as provided above, all provisions of the judgment dated 3 January 2000                      shall remain in effect.
IT IS SO ORDERED .

Order Date:          4 March 2008                                                                s /L.A. Collier
                                                                                                 Judge’s signature


Effective Date:                                                               Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                            Printed name and title
